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                     UNITED STATES DISTRICT COURT
                     WESTERN DISTRICT OF LOUISIANA
                          LAFAYETTE DIVISION


 UNITED STATES OF AMERICA                     CASE NO. 6:21-CR-00043-01

 VERSUS                                       JUDGE ROBERT R. SUMMERHAYS

 CHANCE JOSEPH SENECA (01)                    MAGISTRATE JUDGE CAROL B.
                                              WHITEHURST


                                     ORDER

       Considering the issues discussed during the March 14, 2022 telephone

 scheduling conference,

       IT IS ORDERED that trial is hereby set for August 8, 2022 at 9:30 AM

 before Judge Summerhays in Courtroom 3, Lafayette, Louisiana.

       IT IS FURTHER ORDERED that a pretrial conference will be held on July

 21, 2022 at 10:00 a.m. by phone with the undersigned Magistrate Judge. Counsel

 shall access the pretrial conference by dialing 877-336-1839, access code 2869540.

       Signed at Lafayette, Louisiana on this 14th day of March, 2022.


                                      ____________________________________
                                      CAROL B. WHITEHURST
                                      UNITED STATES MAGISTRATE JUDGE
